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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                           CRIMINAL NO. 1:12CR59-LG-RHW-4

BOBBY CHARLES MORGAN

            ORDER DENYING MOTION TO REDUCE SENTENCE

       The Defendant filed this [365] Pro Se Motion for Reduction of Sentence

Pursuant to 18 U.S.C. 3582(c)(2), requesting that his offense level and guideline

range be reduced “based on the Alleyene v. United States.” In Alleyne v. United

States, 133 S. Ct. 2151, 2162 (2013), the Supreme Court held “that facts that

increase mandatory minimum sentences must be submitted to the jury.” Because

no count of conviction carried a mandatory minimum sentence in defendant’s case,

(see Stmt. of Reasons 1 (¶1), ECF No. 182), the Alleyne case has no application to

the defendant’s sentence.

       The defendant also refers to 18 U.S.C. § 3582(c)(2). In November 2015, he

received a sentence reduction from 126 months to 105 months pursuant to §

3582(c)(2). (See Order Regarding Mot. for Sentence Reduction Pursuant to 18

U.S.C. § 3582(c)(2) at 1, ECF No. 337). The defendant requests a reduction of his

total offense level from 27 to 25, but this reduction has already been applied to

defendant’s sentence by the Court’s Order. (Id. at 2, ECF No. 338). For these

reasons, the defendant has not shown he is entitled to the relief requested.

       IT IS THEREFORE ORDERED AND ADJUDGED that the defendant’s
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[365] Pro Se Motion for Reduction of Sentence Pursuant to 18 U.S.C. 3582(c)(2) is

DENIED.

      SO ORDERED AND ADJUDGED this the 7th day of February, 2017.



                                              s/   Louis Guirola, Jr.
                                              LOUIS GUIROLA, JR.
                                              CHIEF U.S. DISTRICT JUDGE




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